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received by Defendants traceable to indirect purcahses for the Subject Drugs by Plaintiffs’

Assignors. Plaintiffs have no adequate remedy at law.

                                         JURY DEMAND

       Plaintiffs demand a trial by jury of all issues so triable in this cause.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for the following relief:

                   a. Enter a judgment against Defendants for the violations alleged herein;

                   b. Award to Plaintiffs actual damages incurred as a result of the wrongful acts

                       complained of herein, along with pre-judgment and post-judgment interest

                       at the maximum rate allowed by law;

                   c. Award statutory damages set forth herein under the statutory claims alleged;

                   d. Award Plaintiffs the costs of this action, including reasonable attorneys’

                       fees;

                   e. Grant Plaintiffs such other and further relief as the Court deems just and

                       proper.

DATED: December 16, 2019                       Respectfully submitted by,


                                               /s/ Christopher L. Coffin
                                               Christopher L. Coffin (CT #30759)
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